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                                                    May 14, 2025

 Honorable Margo K. Brodie
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 BY ECF & EMAIL

                                                    Re:     United States v. Michael Hlday
                                                            20 Cr. 008 (MKB)

 Dear Judge Brodie:

                Defendant Michael Hlday (“Hlday”) is currently at liberty on a bond that contains
 numerous conditions including travel restrictions. Hlday’s mother recently had surgery and needs
 some assistance at her home. Additionally, Hlday’s daughter is graduating from college and he
 wants to take his mother to the graduation. For these reasons, Hlday respectfully requests
 permission to travel to New York and to stay with mother on Long Island from May 17, 2025
 through May 20, 2025. On May 18, 2025, Hlday also requests permission to travel to Rhode
 Island with his mother for the day to attend his daughter’s graduation ceremony in Rhode Island.
 The government, by Assistant United States Attorney Jonathan Lax, and Pretrial, by Pretrial
 Officer Valeria Lopez consent to these applications.

               Thank you for Your Honor’s consideration of these requests.

                                                    Very truly yours,
                                                    Sanford Talkin
                                                    Sanford Talkin


 cc:    AUSA Jonathan Lax (by ECF & email)
        EDNY Pretrial EM Unit (by email)
        USPO Jason Roberts (by email)
